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                                                      U.S. Department of Justice


                                                      United States Attorney
                                                      Eastern District of New York

PWB                                                   271 Cadman Plaza East
F. #2010R02201                                        Brooklyn, New York 11201

                                                      February 6, 2018

By ECF, Hand Delivery, and Email

Honorable Roslynn R. Mauskopf
United States District Court
Eastern District of New York
225 Cadman Plaza East
Brooklyn, New York 11201

              Re:      United States v. ‘Isa
                       Criminal Docket No. 11-819 (RRM)

Dear Judge Mauskopf:

                Pursuant to the Court’s February 6, 2018 Order in the above-captioned matter,
earlier today the government filed the following documents:

              •     The draft 11(c)(1)(C) plea agreement to which the defendant is expected to
                    plead guilty, as well as a revised stipulation of facts (Docket Entry (“DE”) No.
                    93); 1


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                Because the defendant has not yet pleaded guilty, and the Court has not yet
accepted the defendant’s plea, the government requests that the plea agreement and
stipulated facts be filed under seal. The government is sensitive to the need to minimize the
amount of information that is filed under seal in a criminal case. See, e.g., United States v.
Aref, 533 F.3d 72, 83 (2d Cir. 2008) (noting “the requirement that district courts avoid
sealing judicial documents in their entirety unless necessary”); Lugosch v. Pyramid Co., 435
F.3d 110, 119-20 (2d Cir. 2006) (noting that sealing orders should be “narrowly
tailored”). In this case, however, public disclosure regarding the proposed plea agreement
and stipulated facts could affect the defendant’s right to a fair trial. See United States v.
Graham, 257 F.3d 143, 154 (2d Cir. 2001) (protecting a defendant’s right to fair trial may be
compelling reason justifying sealing). Thus, the countervailing interests in protecting the
defendant’s right to a fair trial outweigh the public’s qualified right to access. As the facts
set forth above provide ample support for the “specific, on the record findings” necessary to
support sealing, Lugosch, 435 F.3d at 120, the government respectfully requests permission
to file the plea agreement and stipulated facts under seal.
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            •   Proposed judicial removal documents referenced in the draft plea agreement
                (DE No. 94);

            •   A letter regarding the elements of the statute to which the defendant is
                expected to plead guilty (DE No. 95);

            •   A letter regarding the proposed 11(c)(1)(C) plea agreement to which the
                defendant is expected to plead guilty (DE No. 96).


                                                  Respectfully submitted,

                                                  RICHARD P. DONOGHUE
                                                  United States Attorney

                                          By:       /s/ Peter Baldwin
                                                  Peter Baldwin
                                                  Alexander Solomon
                                                  Tiana Demas
                                                  Assistant U.S. Attorneys
                                                  (718) 254-7000

cc:   Clerk of the Court (RRM)
      Defense counsel




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